Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 1 of 29

Nn ROPES & GRAY LLP
] ONE INTERNATIONAL PLACE BOSTON, MA 02110-2624 617-951-7000 F 617-951-7050

BOSTON NEW YORK SAN FRANCISCO’. WASHINGTON: bc

September 23, 2003 Laura L. Phair
(617) 951-7274
Iphair@ropesgray.com
BY HAND

Ms. Maria Simeone

Docket Clerk for the Honorable Patti B. Saris
United States District Court

for the District of Massachusetts

One Courthouse Way

Boston, MA 02210

Re: In re: Pharmaceutical Industry Average Wholesale Price Litigation MDL No. 1456

Dear Ms. Simeone:

Per our conversation today, I am enclosing a date stamped copy of the Defendant-Specific
Memoranda in Support of the Motion to Dismiss the Amended Complaint of Suffolk County that
was filed on September 15, 2003 in the above referenced matter. As we discussed, this
document does not seem to appear on the on-line court docket (PACER). Please also note that
this document was e-filed on September 15, 2003 on Verilaw.

Very truly yours,

Laura L. Phair
Paralegal

Encl.

Cc: John Therien, Esq.

9262612_1.DOC
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 2 of 29

Kc | COURT
ICT OF MASS,

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS 200) SEP 15 B 5: 33

)

IN RE PHARMACEUTICAL INDUSTRY ) MDLNo. 1456 » ED
AVERAGE WHOLESALE PRICE )- 6: LEAKS OFFICE
LITIGATION ) Civil Action No.

01-CV-12257-PBS

THIS DOCUMENT RELATES TO:

etal,

)
)

) .
County of Suffolk v. Abbott Laboratories, Inc., ) Judge Patti B. Saris
)

E.D.N.Y. Case No. CV-03-229 )
)

DEFENDANT-SPECIFIC MEMORANDA
IN SUPPORT OF THE MOTION TO DISMISS

The following defendants submit the attached Defendant-Specific Memoranda in Support
of the Motion to Dismiss: Abbott Laboratories, Inc.; Amgen, Inc.; AstraZeneca Pharmaceuticals
LP; Aventis Pharmaceuticals; Bayer Corporation; Berlex Laboratories, Inc.; Biogen, Inc.; Eli
Lilly and Company; Forest Pharmaceuticals, Inc.; MediImmune, Inc.; Merck & Co., Inc.;
Novartis Pharmaceuticals Corporation; Pfizer Inc., Pharmacia Corporation and Pharmacia &
Upjohn, Inc., Purdue Pharma L.P.; Reliant Pharmaceuticals, LLC; Sanofi-Synthelabo, Inc.;
Schering-Plough Corporation; TAP Pharmaceutical Products, Inc.; Warrick Pharmaceuticals

Corporation; and Wyeth.

9255015 1.DOC ©
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 3 of 29

CERTIFICATION PURSUANT TO LOCAL RULE 7.1

Counsel for defendants hereby certify that they have conferred with plaintiffs in a good

faith attempt to narrow or resolve the issues presented by these memoranda.

Schering-Plough Corporation
Warrick Pharmaceuticals Corporation

By their attorneys

Been T. O’Connor (BBO# 546767)
ohn T. Montgomery (BBO# 352220)
Crystal D. Talley (BBO#633759)
John R. Therien (BBO#651185)
Ropes & Gray

One International Place

Boston, MA 02110

(617) 951-7000

Dated: September 15, 2003

CERTIFICATE OF SERVICE

Thereby certify that on September 15, 2003, I caused a true and correct copy of the
Defendant-Specific Memoranda in Support of the Motions to Dismiss to be served on all counsel

of record by electronic service pursuant to Case Mana t Order No. 2 entered by the
Honorable Patti B. Saris in MDL 1456.

(Tob R. Therien

9255015_1 -2-
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 4 of 29

) . “e20T COURT
SECT OF MASS.

Nn ROPES & GRAY LLP
] ONE INTERNATIONAL PLACE BOSTON, Mage BS 3 F 617-951-7050
BOSTON NEW YORK — SAN FRANCISCO MT SEP So 0

September 15,2003 . oo John R. Therien
a, JED (617) 951-7966
WP LER RATS OFFICE. jtherien@ropesgray.com

Clerk for Civil Business COPY
United States District Court
for the District of Massachusetts

US. Courthouse

One Courthouse Way, Suite 2300
Boston, MA 02210 .

Re: In re: Pharmaceutical. Industry Average Wholesale Price Litigation MDL No. 1456
Dear Sir/Madam:
Enclosed for filing please find the following:

(1) Defendants’ Motion to Dismiss the State of Montana’s Second Amended
Complaint and the State of Nevada’s Amended Complaint; and

(2) Appendix of Exhibits.

Please date-stamp the enclosed copy of this cover letter and return it to our messenger. Thank
you.

Very truly yours,

John R. Therien

cc: Ali counsel of record (via Verilaw)

9255869_1
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 5 of 29

| te COURT
df OF MASS,

UNITED STATES DISTRICT COURT FOR

THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE |. fie
LITIGATION 1 OA BENY hse

ay)
i i

Civil Action No. 01-CV-12257-PBS
THIS DOCUMENT RELATES TO: -
Judge Patti B. Saris
State of Montana v. Abbott Labs, Inc., et al.,
-02-CV-12084-PBS

State of Nevada v. American Home Products

Corp., et al., 02-CV-12086-PBS CO PY

DEFENDANTS’ MOTION TO DISMISS THE STATE OF MONTANA’S SECOND
AMENDED COMPLAINT AND THE STATE OF NEVADA’S AMENDED COMPLAINT

Pursuant to Federal Rules of Civil Procedure 9(b) and 12(6)(6), the undersigned
Defendants respectfully move this Court jointly for dismissal of all claims against them in the
State of Montana’s Second Amended Complaint and the State of Nevada’s Amended Complaint.
The grounds for this motion are stated in: (1) the Consolidated Memorandum in Support of
Defendants” Motion to Dismiss, in which nearly all defendants join; and (2) the individual
memoranda of law filed by some defendants, which they have submitted to address issues
specific to them or issues that were not included in the Consolidated Memorandum. This Motion
is submitted on behalf of all defendants who have been properly served.

WHEREFORE, for the reasons set forth in the memoranda described above, the
Defendants respectfully request that the Court grant their motion to dismiss the claims against
them in the State of Montana’s Second Amended Complaint and the State of Nevada’s Amended

Complaint and enter an Order:
CASS POLE TEAS SETS SSE

@9"15/2823 16:26 = COVINGTON & BURLING 11 COPY ROOM > 916179517952 NO.873 «DBZ
a. dismissing all claims i in the aforementioned Complaints with prejudice;
and

b. providing such other and further relief as the Court deems just and proper.
Respectfully submitted,

ON BEHALF OF LISTED DEFENDANTS
IN THE ABOVE-CAPTIONED ACTIONS,

Geoffrey E.HoWart

Holland & Knight LLP
10 St. James Avenue
Boston, MA 02116
Tel: (617) 854-1419
Fax: (617) 523-6850

Mark H. Lynch
- Ethan M. Posner
Covington & Burling
1201 Pennsylvania Avenue, N.W,
Washington, DC 20004
Tel: (202) 662-5544
, - Fax: (202) 778-5544

Frederick G. Herold
Dechert LLP
975 Page Mill Road
- Palo Alto, CA 94304
Tel: (650) 813-4930
Fax: (650) 813-4848
(Member of Pennsylvania Bar; admission to

California Bar pending)
DATE: September 15, 2003 Counsel for SmithKline Beecham Corp. aola

GlaxoSmithKline .
ONBEHALFOF: _ |
ABBOTT LABORATORIES
AMGEN, INC.
APOTHECON, INC.

ASTRAZENECA PHARMACEUTICALS LP
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 7 of 29

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456

AVERAGE WHOLESALE PRICE

LITIGATION Civil Action No.
01-CV-12257-PBS

THIS DOCUMENT RELATES TO:

County of Suffolk v. Abbott Laboratories, Inc.,
etal,
E.D.N.Y. Case No. CV-03-229

Judge Patti B. Saris ©

Dee Nowe? Meee Nee See eet es Se a

DEFENDANT-SPECIFIC MEMORANDA
IN SUPPORT OF THE MOTION TO DISMISS

The following defendants submit the attached Defendant-Specific Memoranda in Support
of the Motion to Dismiss: Abbott Laboratories, Inc.; Amgen, Inc.; AstraZeneca Pharmaceuticals
LP; Aventis Pharmaceuticals; Bayer Corporation; Berlex Laboratories, Inc.; Biogen, Inc.; Eli
Lilly and Company; Forest Pharmaceuticals, Inc.; MedImmune, Inc.; Merck & Co., Inc.;
Novartis Pharmaceuticals Corporation; Pfizer Inc., Pharmacia Corporation and Pharmacia &
Upjohn, Inc., Purdue Pharma L.P: ; Reliant Pharmaceuticals, LLC; Sanofi-Synthelabo, Inc.;
Schering-Plough Corporation; TAP Pharmaceutical Products, Inc.; Warrick Pharmaceuticals

Corporation; and Wyeth.

9255015_1.DOC
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 8 of 29

CERTIFICATION PURSUANT TO LOCAL RULE 7.1

Counsel for defendants hereby certify that they have conferred with plaintiffs in a good

faith attempt to narrow or resolve the issues presented by these memoranda.

Schering-Plough Corporation
Warrick Pharmaceuticals Corporation

By their attorneys

Been T. O’Connor (BBO# 546767)
ohn T. Montgomery (BBO# 352220)
Crystal D. Talley (BBO#633759)
John R. Therien (BBO#651 185)
Ropes & Gray

One International Place

Boston, MA 02110

(617) 951-7000

Dated: September 15, 2003

CERTIFICATE OF SERVICE

Thereby certify that on September 15, 2003, I caused a true and correct copy of the
Defendant-Specific Memoranda in Support of the Motions to Dismiss to be served on all counsel

of record by electronic service pursuant to Case Mana t Order No. 2 entered by the
Honorable Patti B. Saris in MDL 1456.

(ok R. Therien

92550151 -2-
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 9 of 29

INDEX _
Defendant - Tab
Abbott Laboratories, Inc. 1
Amgen Inc. 2
AstraZeneca Pharmaceuticals LP 3
Aventis Pharmaceuticals a 4
Bayer Corporation 5
Berlex Laboratories, Inc., Forest Pharmaceuticals, Inc., 6

Purdue Pharma L.P., and Reliant Pharmaceuticals, LLC

Biogen, Inc. . 7

Eli Lilly and Company 8

MedImmune, Inc. 9

Merck & Co., Inc. 10
Novartis Pharmaceuticals Corporation 11
Pfizer Inc. 12
Pharmacia Corporation and Pharmacia & Upjohn, Inc. 13
Sanofi-Sythelabo, Inc. 14
Schering-Plough Corporation 15
TAP Pharmaceutical Products, Inc. 16
Warrick Pharmaceuticals Corporation 17

Wyeth . 18
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 10 of 29

#1
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 11 of 29

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE

LITIGATION MDL NO. 1456

THIS DOCUMENT RELATES TO: CIVIL ACTION: 01-CV-12257-PBS
County of Suffolk v. Abbott Laboratories,

Judge Patti B. Saris
Inc, et al.

ABBOTT LABORATORIES, INC.’S SEPARATE
MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
TO DISMISS SUFFOLK COUNTY’S AMENDED COMPLAINT

Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 12 of 29

Suffolk County asserts claims against Abbott Laboratories, Inc. (“Abbott”) as to only two
products: Depakote® and Kaletra®. Both are brand name drugs. As to these drugs, Suffolk
County makes no effort to provide any of the specificity necessary to comply with this Court’s
May 13, 2003 ruling regarding the minimum pleading requirements plaintiffs must meet. Thus, .
in addition to the reasons stated in the defendants’ consolidated memorandum, Suffolk County’s
claims against Abbott should be dismissed because:

+ Suffolk County alleges no fraudulent acts by Abbott with respect to Depakote®
and Kaletra®.

+ Suffolk County does not allege any competitors for Depakote® and Kaletra®.

+ The State of New York had actual knowledge of the market prices for all drugs
reimbursed by Medicaid, including Depakote® and Kaletra®,

To the extent that Suffolk County purports to assert claims as to any drugs other than Depakote®
and Kaletra®, those claims also should be dismissed in accordance with the Court’s May 13,
2003 Order.

Suffolk County’s Amended Complaint mirrors in many respects the State of Montana’s
Second Amended Complaint and private plaintiffs’ Amended Master Consolidated Complaint
(“AMCC”). Abbott has filed memoranda in support of motions to dismiss both of those cases.
Rather than repeat verbatim the arguments set forth in those other memoranda, Abbott will
summarize below how those arguments apply to Suffolk County’s Second Amended Complaint.
In all other respects, Abbott will incorporate arguments made in prior Abbott briefs in an effort

to conserve space and judicial resources.
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 13 of 29

L Suffolk County Does not Identify Any Fraudulent Conduct as to Depakote® and
Kaletra®

The specific allegations asserted against Abbott are scant. Suffolk County accuses
Abbott of participating in two schemes: One to inflate AWPs, the other to misreport Best Price.
In both cases, the facts alleged as to Abbott are insufficient.

As to the scheme to manipulate AWPs, Suffolk County does not describe a single act by
Abbott or its agents in furtherance of the alleged fraud. Instead, Suffolk County alleges simply.
that the AWPs for Depakote® and Kaletra® are between 25% and 29% higher than a number
described only as “Suffolk’s Estimated True AWP.” Suffolk County never describes what this
so-called “True AWP” represents, how it was calculated, or how Suffolk County collected the
information on which any calculations were based. This differential between AWP and an
imaginary “True AWP” constitutes the only allegations made against Abbott relating to
Depakote® and Kaletra®. See Am. Compl. ff] 125-132 (Abbott-specific allegations). Suffolk.
County never even alleges what it paid for Depakote® and Kaletra®. Instead, Suffolk County
describes settlements of cases having nothing to do with Depakote® and Kaletra®, See id
qf 130-131.

Suffolk County’s Best Price allegations are even more sparse. ‘Neither Abbott nor its
drugs are mentioned at all in connection with this alleged fraud involving the Medicaid Rebate
Program. See Am. Compl. {1 84-91. Suffolk County never alleges what rebates were paid for
Depakote® and Kaletra®, nor what those rebates should have been.

These bare-bones allegations do not satisfy Rules 9(b) and 8(a). First, the allegations
contravene this Court’s instruction that plaintiffs “clearly and concisely” describe. the fraud that
they are alleging. In re Pharmaceutical Indus. Average Wholesale Price Litig., 263 F. Supp. 2d

172, 194 (D. Mass. 2003) (hereinafter “AWP Litigation”). See Tr. of Jan. 13, 2003 Hearing on
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 14 of 29

Mot. to Dismiss, at 74 (“You've got to meet 9(b) requirements. You’ve got to particularize
exactly what drugs, exactly what the fraud is, which plaintiffs paid for what drugs.”) (emphasis
added). As to both AWP and Best Price, Suffolk County falls far short of this requirement.
Second, Suffolk County’s allegations fail to explain how any statements by Abbott could
be construed as fraudulent. See Suna v. Bailey Corp., 107 F.3d 64, 68 (1st Cir. 1997) (requiring
plaintiff to explain why statements were fraudulent); United States ex rel. Gublo v. NovaCare,

Inc., 62 F. Supp. 2d 347 (D. Mass. 1999) (dismissing Medicare fraud case under Rule 9(b)

because the plaintiff failed to allege why or how the defendant’s price representations were
fraudulent). In fact, Suffolk County identifies no statements at all by Abbott, although it implies
that Abbott reported an AWP for Depakote® and Kaletra®, More importantly, Suffolk County
nowhere explains why these reported AWPs would be fraudulent, noting only the existence of a
“spread”. As Abbott explained in its motion to dismiss Montana’s Second Amended Complaint,
such conclusory allegations cannot suffice. !

For all of these reasons, all claims against Abbott should be dismissed for failure to plead
fraud with specificity pursuant to Rules 9(b) and 8(a).

I. Suffolk County Does not Allege Any Competitors for Depakote® and Kaletra®

Suffolk County contends that defendants inflated AWPs in order to “motivate providers
to distribute the drugs with the highest reimbursement rate.” Am. Compl. 7 10. As to Abbott,
however, Suffolk County does not identify any competitors for Depakote® and Kaletra®. Suffolk
County likewise never explains whether the providers who purportedly made a profit from the

“spread” have any role in the decision to prescribe Depakote® and Kaletra®. In short, Suffolk

1 See Abbott's Individual Memorandum in Support of its Motion to Dismiss the State of Montana’s Second
Amended Complaint (filed Sept. 15, 2003) (hereafter “Abbott Mont. Mem.), 4-5,
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 15 of 29

County has failed to allege facts sufficient to support their contention that “marketing the spread”
(id.) is possible for Depakote® and Kaletra®. As described fully in other memoranda filed with
this Court on pending motions to dismiss, these pleading deficiencies require the dismissal of

Suffolk County’s claims against Abbott.”

Ill. The State of New York Knew as a Matter of Law That AWPs Exceeded Market
Prices

As set forth in detail in the defendants’ consolidated memorandum, the State of New
York was fully aware that AWPs exceeded market prices, yet still chose to reimburse certain
Medicaid-covered drugs by reference to AWP. In addition to the public record establishing the
nature of AWP, however, New York had actual knowledge of market prices by virtue of its
participation in the Medicaid Rebate Program. As Abbott describes in its memorandum in
support of the motion to dismiss Montana’s Second Amended Complaint, the states’ rebates bear
a mathematical relationship to Average Manufacturer’s Price (“AMP”). See 42 U.S.C. § 1396r-
8(c). AMP is by definition the average price at which manufacturers sell their drugs to
wholesalers for distribution to retail pharmacies, 42 U.S.C. § 1396r-8(k)(1). Thus, by
performing a simple calculation, New York has always had the ability to determine that the
reimbursement it was paying exceeded the average price of drugs in the market. Because
‘Suffolk County had actual knowledge of facts inconsistent with its claims of fraud, its claims fail

as a matter of law.

2 See Abbott’s Individual Memorandum in Support of its Motion to Dismiss the AMCC (filed Aug. 1,
2003), 5; TAP Pharmaceutical Products Inc.’s Individual Memorandum in Support of its Motion to Dismiss the
AMCC (filed Aug. 1, 2003), 4-5. See also Abbott Mont. Mem., 5; TAP Pharmaceutical Products Inc.’s Individual
Memorandum in Support of its Motion to Dismiss the State of Montana’s Second Amended Complaint (filed Sept.
15, 2003), 4. -
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 16 of 29

IV. _ This Case is Limited to the Drugs Listed in Exhibits A and B

Suffolk County must specify by name the drugs as to which it alleges fraudulent
manipulation of AWPs. AWP Litigation, 263 F. Supp. 2d at 194. Asa result, the claims asserted

_ by Suffolk County are limited to Depakote® and Kaletra®, the only two Abbott drugs identified

in Exhibits A and B of its Amended Complaint. To the extent that Suffolk County purports to
assert claims as to any other Abbott drugs, those claims should be dismissed.?
Vv. Conclusion

For the foregoing reasons, as well as those stated in the defendants’ consolidated
memorandum and those individual defendants’ memoranda that apply to Abbott, this Court

?

should dismiss Suffolk County’s Amended Complaint as to Abbott.

3 Depakote® and Kaletra® are brand name drugs. To the extent that the Court declines to dismiss claims
relating to unnamed drugs, Abbott incorporates herein the arguments asserted in its motion to dismiss Montana’s
Second Amended Complaint with respect to (a) AWP claims arising from multiple-source drugs and (b) rebate
claims arising from non-innovator multiple-source drugs. See Abbott Mont. Mem. at 1-4.
Case 1:01-cv-12257-PBS Document551-3 Filed 09/15/03 Page 17 of 29

Dated: September 15, 2003

Respectfully Submitted,

Vaal

James R. Daly

JONES DAY

77 West Wacker Drive
Chicago, Illinois 60601
Telephone: (312) 782-3939
Facsimile: (312) 782-8585

R. Christopher Cook

Jesse A. Witten

JONES DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001-2113
Telephone:. (202) 879-3939
Facsimile: (202) 626-1700

Counsel for Defendant
Abbott Laboratories, Inc.
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 18 of 29

#2
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 19 of 29

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

MDL No. 1456
Civil Action: 01-CV-12257-PBS

Judge Patti B. Saris

THIS DOCUMENT RELATES TO:
County of Suffolk v. Abbott Labs., et al.,
(E.D.N.Y. No. CV-03-229)

Neue? Newer” Nene” Neer See” Se” ne” Nene Nee! Ne Nae”

MEMORANDUM IN SUPPORT OF
AMGEN INC.'S INDIVIDUAL MOTION TO DISMISS
COUNTY OF SUFFOLK’S AMENDED COMPLAINT

Frank A. Libby, Jr.

Kelly, Libby & Hoopes, P.C.
175 Federal Street, 14" Floor
Boston, Massachusetts 02110
Telephone: (617) 338-9300
Facsimile: (617) 338-9911

Joseph H. Young

Steven F, Barley

Hogan & Hartson L.L.P.

111 S. Calvert St., Suite 1600
Baltimore, Maryland 21202
Telephone: (410) 659-2700
Facsimile: (410) 539-6981
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 20 of 29

Defendant Amgen Inc. (“Amgen”) moves to dismiss the amended complaint filed by
County of Suffolk (“Suffolk”) because it fails to allege any specifics in support of its claim that
Amgen was involved in the so-called AWP “scheme.” The amended complaint is long on
conclusions and short on specifics, Despite clear direction from this Court in related matters,
Suffolk does not, for instance, allege even a single specific purchase of any Amgen product by
any Suffolk County resident; does not allege specific prices or explain why any prices are
fraudulent; and does not allege any specific sales or marketing practices at Amgen that it
contends are improper. Unlike many other defendants, Amgen is not alleged to be the subject or
target of government investigation relating to AWP. Nor is it alleged to be the subject of any
government audit relating to AWP or identified as a recipient of any Congressional subpoena or
other request for documents relating to AWP. Suffolk has simply lumped Amgen in with an
entire industry that is under attack, hoping ultimately to find some support for its claims through
discovery. Rule 9(b) requires more.

Suffolk’s claims relating to Amgen’s EPOGEN® also should be dismissed. This
products — one of only three Amgen products identified in the amended complaint — is not even
reimbursed based upon AWP. Because EPOGEN® is not reimbursed based upon AWP, its price
cannot be manipulated, as Suffolk has alleged.

L. Suffolk’s Allegations against Amgen Fail Under Rule 9(b).

Suffolk must, at a minimum, “clearly and concisely allege with respect to each defendant:
(1) the specific drug or drugs that were purchased from defendant, (2) the allegedly fraudulent
AWP for each drug, and (3) the name of the specific plaintiff(s) that purchased the drug.” In re

Pharmaceutical Indus. Average Wholesale Price Litig., 263 F.Supp.2d 172, 194 (D. Mass.
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 21 of 29

2003).! Suffolk has not done so. It has not alleged with any specificity why or how the AWPs
for Amgen’s products are fraudulent. Merely asserting that Suffolk reimbursed a provider based
upon a published AWP and comparing that AWP to a made up number — “Suffolk’s Estimated
True AWP” — that is neither defined nor explained, is not enough. Indeed, far from providing
any specifics of a supposed fraud as required by Rule 9(b)?, Suffolk does not provide even a
single actual price at which any Suffolk County resident purchased any Amgen product.
Instead, Suffolk offers up only the most conclusory allegations that Amgen:
° “Reported, or caused to be reported,” inflated AWPs, without providing a
single example of a supposedly “correct” price and offering instead its own
“estimated true” price (AC at J 138) 3;
© controlled or set the AWPs for its products “through direct communications
with the compendia” without providing a single example of any such a
communication by Amgen that supposedly controlled or set an allegedly

overstated or incorrect AWP, much less the requisite date, time or place of any
such communication (AC at { 145); and,

1 At the hearing on the motions to dismiss the private plaintiffs’ Master Consolidated Complaint (the
“MCC”), the Court further remarked, “[y]ou’ve got to meet 9(b) Tequirements, You've got to particularize exactly
what drugs, exactly what the fraud is, which plaintiffs paid for what drugs.” Transcript of January 12, 2003 Hearing
at 74, Amgen was one of only seven defendants subsequently dismissed entirely from the MCC.

Exhibit A to the amended complaint identifies three Amgen products: EPOGEN®, Neupogen®, and
Enbrel®. AC at {25 and Exhibit A. The Court, at a minimum, should dismiss any asserted claim for unidentified
- “Covered Drugs” not specifically identified in the amended complaint. t

Nw

Fed. R. Civ. P. 9(b) provides that, “[i]n all averments of fraud, ...the circumstances constituting the fraud...
shall be stated with particularity.” Because allegations of fraud are at the core of each of plaintiffs’ claims against
Amgen, they are subject to Rule 9(b). See Hayduk v. Lanna, 775 F.2d 441, 443 (1* Cir. 1985) (quoting Lopez y.
Bulova Watch Co., Inc., 582 F. Supp 755, 766 (D.R.L. 1984)). Whatever the nature of the specific cause of action
asserted, this Circuit applies Rule 9(b) where those claims sound in fraud. See, e.g., Hayduk, 775 F.2d at 443;
McGinty v. Beranger Volkswagen, Inc., 633 F.2d 226, 228-29 (1* Cir. 1980); Arruda v. Sears, Roebuck & Co., 310
F.3d 13, 18-19 (1* Cir. 2002); Boston & Maine Corp. v. Town of Hampton, 987 F. 2d. 855, 865-66 (1* Cir. 1993).

3 Suffolk’s reference to the OIG’s 1993 Report on EPOGEN® reimbursement is unavailing. (AC at Jf 141).
That study, which was conducted as part of HHS’ consideration of whether changes were needed to the
reirobursement methodology, did not find or even suggest that Amgen’s rebates were in any way improper. Indeed,
as HCFA’s comments to the report noted, “[HCFA] believes that the elimination of rebates... would not result ina
change in the manufacturer’s price, nor would it serve any program end.” Further, as noted below, reimbursement
for EPOGEN® under Medicare Part B is not even based on AWP. Consequently, the very premise for which
Suffolk cites this report (i.e., that these rebates somehow widen the gap between actual cost and AWP) is faulty.

26
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 22 of 29

o used “other impermissible inducements” -- not one of which is identified in any
way (much less with specificity) -- to stimulate sales of its products (AC at J
140). 4
Even assuming that Suffolk adequately makes out a scheme to defraud, the absence of any
specifics as to Amgen’s supposed role requires dismissal under Rule 9(b). See, e.g., Curtis v,
Duffy, 742 F. Supp. 34, 38 (D. Mass. 1990)(not enough to “salt the complaint with the words

393

‘falsely’ and ‘fraudulently’”); United States ex rel. Clausen v. Laboratory Corp. of America.,
290 F.3d 1301, 1311 (11™ Cir. 2002) (detailed allegations of general scheme to defraud, without
allegations of specific actions by the defendant, does not comply with Rule 9(b)); United States
ex rel. Barmak v. Sutter Corp, 2003 WL 21436213, *4-5 (S.D.N.Y. June 20, 2003) (same).
Suffolk repeatedly relies on sweeping allegations against the entire pharmaceutical
industry, casting manufacturers together under the convenient rubric “defendants” or
“pharmaceutical manufacturers” rather than providing specifics to support its claims. See, e.g.,
AC at { 2 (“For the last decade, defendants have engaged in a systematic and pervasive
fraudulent scheme with others in the pharmaceutical distribution chain . . . to collect inflated
prescription drug payments from Suffolk”); see also AC at {J 4, 7, 8, 10, 13, 14, 16, 17. Rule
9(b), however, requires particularized factual allegations as to each defendant. See, e.g., Romani
v. Shearson Lehman Hutton, 929 F.2d 875, 877-78 (1° Cir. 1991). Plaintiffs’ efforts to paint
defendants with one brush is nowhere more clear than in Suffolk’s baseless and flatly incorrect

allegation that all “defendants” have been the subject of investigations by DOJ, OIG, GAO or .

unidentified Congressional Committees for “questionable practices regarding the industry’s

4 Suffolk's best price allegations, based in part upon the alleged failure to disclose “discounts, free samples
and other inducements,” also fail under Rule 9(b) because Suffolk provides no specifics regarding any such
“unlawful” inducements and because Suffolk fails altogether to identify a single allegedly fraudulent Best Price for
any Amgen product or any corresponding “correct” Best Price. See. LaCorte v. Merck & Co., et al., No. 99-
3807, slip op. at 6 (B.D. La. Aug. 27, 2003).

-3-
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 23 of 29

calculation of AWPs and for offering illegal incentives to providers.” AC at] 108. This
allegation, as to Amgen, is patently false. Indeed, and unlike its allegations against other
manufacturers, Suffolk is unable to allege that Amgen is or has been the subject of any such
investigation, audit, or similar inquiry. Compare AC at ff 138-145 (allegations against Amgen)
with AC at J] 150-51, 163, 175-79, 198-200, 222, 234-244, 255, 272-77, 293-96, 304
(allegations of governmental investigations against others).5

Many of Suffolk’s factual allegations are based on nothing more than information and
belief and, as such, are wanting. See, e.g., AC at J 16 (“Suffolk alleges upon information and
belief that, in many instances, the AWP reported by the defendant pharmaceutical manufacturers
bears a minimal relationship to the prices actually paid by providers and is ‘made up’ . ..”). See
Wayne Inv., Inc. v. Gulf Oil Corp., 739 F.2d 11, 13 (1* Cir. 1984); United States ex rel. Walsh v.
Eastman Kodak Co., 98 F. Supp. 2d 141, 148 (D. Mass. 2000) (Saris, J.) (quoting In re Boston
Tech., Inc. Sec. Litig., 8 F. Supp. 2d 43, 53 (D. Mass. 1998) (“the First Circuit looks cautiously
upon plaintiffs alleging fraud purely on the basis of information and belief’). In fact, the entirety
of Suffolk’s allegations that Amgen reported inflated AWP’s prior to 2001 are based on
information and belief. See AC at { 139.

Likewise, Suffolk cannot base its pleading on a mere suspicion of fraud in the hope that it
can uncover facts later to support its hunch. (See AC at f] 143-144) (conceding that the
specifics of “Amgen’s promotional, discounting and pricing practices” and the “facts

surrounding Amgen’s discounting and rebate activities” are unknown to it and must be “revealed

5 Suffolk’s efforts, in { 116 of the Amended Complaint, to link Amgen to a September 2000 GAO report
underscores the lack of care it exercised in drafting this pleading. The report does not, as Suffolk implies, mention
Amgen (or Johnson & Johnson, for that matter) by name, and in fact refers only to “epoetin alpha [sic] for non-
ESRD.” Epoetin alfa for non-ESRD uses is marketed and sold exclusively by Johnson & Johnson as Procrit® and is
neither marketed nor sold by Amgen.

-4-
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 24 of 29

through discovery”). This type of pleading is precisely the kind of improper “fishing expedition”
that Rule 9(b) is designed to prevent. See, e.g., U.S. ex rel. Franklin v. Parke-Davis, 147 F. Supp.
2d 39, 46 (D. Mass. 2001) (Saris, J.) (citing New England Data Servs. v. Becher, 829 F.2d 286,
292 (1° Cir. 1987)) (Rule 9(b) serves to “prevent[] conclusory allegations of fraud from serving
as a basis for strike suits and fishing expeditions, and [to] protect[] defendants from groundless
charges that may damage their reputations”). At the end of the day, and despite its length,
Suffolk’s amended complaint provides no specifics to support its contention that the AWP for
any Amgen product is fraudulent. Simply saying that a published AWP is “false” does not make
itso. Rule 9(b) and this Court’s directives require more. See Suna v. Bailey Corp., 107 F.3d 64,
68 (1* Cir. 1997).6

Il. Suffolk’s Claims Based On EPOGEN® Should be Dismissed.

Reimbursement under both Medicare and Medicaid for Amgen’s product, EPOGEN®, is
not based on AWP, but is instead set at a statutory rate under both Medicare and Medicaid ($10
per 1,000 units administered) that has remained unchanged for nearly a decade. See 42 U.S.C. §
1395rr(b)(11)(B). Unlike any other product identified in the amended complaint, the
reimbursement rate set by Congress, CMS, and New York State for EPOGEN® is both publicly
available and widely known. Thus, whatever Amgen’s reported price for purposes of AWP,
Suffolk thus cannot reasonably claim that it has been deceived into paying any falsely inflated

payments for EPOGEN®.

6 Suffolk’s claims against Amgen should be dismissed without further leave to amend. Amgen should not be
put to the further burden and expense of defending itself against such allegations where Suffolk has shown its
inability to meet the threshold requirements of Rule 9(b). Dismissal with prejudice is particularly warranted where,
as here, a plaintiff has had ample time to investigate its beliefs and its pleading makes clear that its claims are
nothing more than unsupported suspicions. See Hayduk, 775 F.2d at 445; Tapogna v. Egan, 141 F.R.D. 370, 373
(D. Mass. 1992) (denying request for leave to amend because plaintiffs had already been given one opportunity to
amend, they “had ample opportunity to allege any facts of which they were aware,” and the request amounted to
nothing more than “a fishing expedition at the defendants’ expense”),

-5.
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 25 of 29

CONCLUSION

For the foregoing reasons, and for the reasons set forth in the defendants’ joint motion

and memorandum, Amgen requests that the amended complaint filed against it in this action be

dismissed with prejudice.

Dated: August 1, 2003

MA
Joseph HY Ming
Steven F, Barley .

Respectfully submitted,

co
Frank A. Libby, Jr. , >
Douglas S. Brooks

Kelly, Libby & Hoopes, P.C.

175 Federal Street, 8" Floor

Boston, Massachusetts 02110
Telephone: (617) 338-9300
Facsimile: (617) 338-9911

Hogan & Hartson L.L.P. \

111 S. Calvert St., Suite 1600
Baltimore, Maryland 21202
Telephone: (410) 659-2700
Facsimile: (410) 539-6981
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 26 of 29

#3
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 27 of 29

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

“sew weer ewe ew wee ewe ew ew ewe ee x

AVERAGE WHOLESALE PRICE :

LITIGATION : Master File No. 01-CV-12257-PBS
THIS DOCUMENT RELATES TO: : Judge Patti B. Saris

County of Suffolk v. Abbott Labs, Inc. et al., :

03-CV-10643-PBS

=~ ser ee ew mew ew eee ee x

MEMORANDUM OF LAW IN SUPPORT
OF ASTRAZENECA PHARMACEUTICALS LP’S
MOTION TO DISMISS THE AMENDED COMPLAINT

AstraZeneca Pharmaceuticals LP (“AstraZeneca”)! respectfully submits this

memorandum of law in further support of its motion to dismiss the County of Suffolk’s

fu:

Amended Complaint (“Amended Complaint”). For the reasons set-forth below and in
defendants’ consolidated memorandum of law (“Consolidated Memorandum”, the claims
against AstraZeneca should be dismissed.

ALLEGATIONS OF THE AMENDED COMPLAINT

J

In the Amended Complaint, Suffolk County asserts a variety of federal and state claims

against AstraZeneca, based on two types of alleged misconduct: 1) the fraudulent reporting of .
false and inflated average wholesale prices (“AWPs”) for certain drugs; and 2) the failure to
report the “best price” for certain drugs, as required by the federal Medicaid Rebate statute.
Amended Complaint (“Am. Compl.”) 42. Suffolk County further alleges that as a result of

AstraZeneca’s alleged misconduct, it paid inflated charges for three AstraZeneca drugs: Nexium,

1 The entity identified in the complaint as AstraZeneca US does not exist. Although mentioned in the
complaint, AstraZeneca PLC is not a defendant in this action. :

1
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 28 of 29

Prilosec and Seroquel. Am. Compl. 9 26, 146, Ex. A-B. No other AstraZeneca drugs are
identified on Suffolk County’s list of alleged Medicaid overcharges, see Am. Compl. Ex. A, or
on Suffolk County’s list of top 2001 Medicaid pharmacy costs, see Am. Compl. Ex. B.
Moreover, with respect to the three drugs that are identified, the only allegations contained in the
Amended Complaint are two isolated data points from one year: the reported AWP in 2001 and
Suffolk County’s “estimated true AWP” for the same year. Am. Compl. ¢ 146, Ex. A. No
where in the Amended Complaint is the methodology or underlying data for this latter number.
revealed.

ARGUMENT

PLAINTIFF’S FRAUD-BASED CLAIMS AGAINST
ASTRAZENECA MUST BE DISMISSED PURSUANT TO RULE 9(B)

A plaintiff must plead the “who, what, where and how” of an alleged fraud in order to
satisfy Rule 9(b) of the Federal Rules of Civil Procedure. See United States ex rel. Franklin v. .
Parke-Davis, 147 F. Supp. 2d 39, 46 (D. Mass. 2001). Moreover, in the similar context of
defendants’ motions to dismiss the Master Consolidated Class Action Complaint, this Court held
that plaintiffs must also allege “the allegedly fraudulent AWP for each drug” in order to state a’
claim with respect to that drug. In re Pharmaceutical Indus. Average Wholesale Price Litig.,
263 F. Supp. 2d 172, 194 (D. Mass. 2003). Suffolk County fails to satisfy these standards in the
Amended Complaint with respect to any drug manufactured by AstraZeneca. Accordingly, all
fraud-based claims against AstraZeneca in the Amended Complaint ~ whether based on an AWP
or Best Price theory — must be dismissed.

Suffolk County fails to allege any particularized facts relating to Prilosec, Nexium and

Seroquel, much less any facts, which, if proven, would constitute fraud. Instead, plaintiff fills

2
Case 1:01-cv-12257-PBS Document 551-3 Filed 09/15/03 Page 29 of 29

three pages of its Amended Complaint with allegations relating to Zoladex, another drug
manufactured by AstraZeneca. Am. Compl. JJ 150-58. However, Suffolk County does not
allege that it incurred any costs with respect to Zoladex’; instead, these allegations appear in the
Amended Complaint solely as an “example” of “the ways in which AstraZeneca wrongfully and
falsely has inflated” its reported AWPs. Am. Compl. ¢ 152.

Fraud cannot be plead by example. Plaintiff's allegations regarding Zoladex are simply
not relevant to its claims regarding Nexium, Prilosec and Seroquel. And since there are no other
particularized allegations supporting these claims, they must be dismissed.

Suffolk County’s conclusory allegations of a purported “true AWP” (“Suffolk’s
Estimated True AWP”), see Am. Compl. ¥ 146, do not alter this conclusion. There are simply no
specific factual allegations in the Amended Complaint supporting this alleged “true AWP.”
Although the Amended Complaint refers somewhat cryptically to Suffolk County’s
“investigations,” not a single detail is provided as to the methodology or underlying data used to
derive Suffolk County’s estimated AWP. Accordingly, Suffolk County fails to satisfy Rule 9(b)

and all fraud-based claims in the Amended Complaint must be dismissed.?

* As noted above, there are no allegations in the Amended Complaint that Suffolk County incurred costs
for any AstraZeneca drugs other than Nexium, Prilosec and Seroquel. See Am. Compl. Ex. A-B. Accordingly, ata
minimum, Suffolk County’s suggestion that it has claims with respect to “all covered drugs manufactured by
AstraZeneca,” Am. Compl. { 147, must be rejected pursuant to Rule 9(b).

8 Suffolk County's allegations of overcharges are also inaccurate. Exhibit A to the Amended Complaint
calculates Suffolk County’s alleged overcharges on the basis of the reported AWP. However, as discussed in the
Consolidated Memorandum, New York State reimburses for prescription drugs at AWP less 12%. Moreover,
Suffolk County is only responsible for 25% of this amount.

